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4    Telephone (916) 554-2772
5
6
7                     IN THE UNITED STATES DISTRICT COURT
8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
9
                                        )
10   UNITED STATES OF AMERICA,          )
                                        )         No. CRS. 08 243 JAM
11             Plaintiff,               )
                                        )         STIPULATION AND ORDER
12        v.                            )         CONTINUING STATUS CONFERENCE
                                        )         HEARING DATE AND EXCLUDING
13   JOHNATHAN ROSE, and                )         SPEEDY TRIAL ACT TIME
     CHRISTOPHER SANDERS, II,           )
14                                      )
               Defendants.              )
15                                      )
     ___________________________________)      Court:    Hon. John A. Mendez
16
17        Whereas, the parties need additional time to resolve discovery
18   issues, including the preparation by plaintiff United States of
19   America of transcripts of multiple recorded conversations involved
20   in the investigation of this case, and for defense counsel to
21   prepare their respective client's defenses upon receipt and review
22   of the anticipated additional discovery, and
23        Whereas, the parties desire to continue the presently set
24   September 23, 2008, status conference hearing until after the
25   defense counsel have an opportunity to review the new discovery,
26        It is hereby stipulated by and between the United States and
27   defendants Johnathan Rose and Christopher Sanders, II, through their
28   respective counsel, that:

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1         1.     The presently set September 23, 2008, at 9:30 a.m.,
2    status conference shall, subject to the approval of the Court, be
3    continued until October 14, 2008, at 9:30 a.m.
4         2.     Time from September 23, 2008, to and including October 14,
5    2008, shall be excluded from computation of time within which the
6    trial of this case must be commenced under the Speedy Trial Act
7    pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) (Local Code T4)
8    (preparation by government and defense counsel).
9
10   DATED:    September 24, 2008                  McGREGOR W. SCOTT
                                                   United States Attorney
11
                                                   /s/ Samuel Wong
12
                                         By:
13                                                 SAMUEL WONG
                                                   Assistant U.S. Attorney
14
15                                                 /s/ Mark Reichel
16   DATED:    September 24, 2008
                                                   MARK REICHEL
17                                                 Attorney for defendant
                                                   JOHNATHAN ROSE (per telephone
18                                                 authorization)
19
20                                                 /s/ Robert Holley
21                                                 ____________________________
                                                   ROBERT HOLLEY
22                                                 Attorney for defendant
                                                   CHRISTOPHER SANDERS, II (per
23                                                 telephone authorization)
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1                                       ORDER
2
3         Based on the stipulation of the parties and good cause
4    appearing therefrom, the Court hereby finds that the failure to
5    grant a continuance in this case would deny both government and
6    defense counsel reasonable time necessary for effective preparation,
7    taking into account the exercise of due diligence.         The Court
8    specifically finds that the ends of justice served by the granting
9    of such continuance outweigh the interests of the public and the
10   defendants in a speedy trial.
11        Based on these findings and pursuant to the stipulation of the
12   parties, the Court hereby adopts the stipulation of the parties in
13   its entirety as its order.
14        IT IS SO ORDERED.
15
16   Dated: September 25, 2008
                                              /s/ John A. Mendez
17                                            HON. JOHN A. MENDEZ
                                              United States District Judge
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